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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

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UNITED STATES OF AMERICA t'=."i;;~_ illnesses
-v- Case No. 1:05cr10032-001T
RAYMOND SAVOY

ORDER SETT|NG

COND|T|ONS OF RELEASE

IT lS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
ease.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.
(3) The defendant shall appear at ali proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Bu.ilding in Courtroom Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Cooditioos

o Execute a bond in the amount of $30,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $3,000.

0 report as directed by the Pretrial Services Office.

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted
in residence and travel to the Western District of Tennessee.

0 Undergo medical or psychiatric treatment and/or remain in an institution, and pay a percentage of the fee
as determined by Pretrial Services.

0 Other: not to possess computer or video recording equipment; refrain from intemet access.

Thte document entered on the docket_shest ln compliance
with nuts ss and/or szrh) irach on 5 5 ©

AO 199.‘\ Order Sel:ting Condiliuns of Re|ease 'l'

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onlcE oF PENALrlEs AND"sANc"rioiis
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOWING PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor, This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shail be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than 3250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above. /j

Signature of Deje/ndant

Raymond Savoy

3256 Hwy. 70 W.
Brownsville, TN 38012
731-779-2413

AO 199A Order Setting Conditions of Releasa -2'-

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DlRECTlONS TO THE UN|TED STATES MARSHAL

|:l The defendant is ORDERED released after processing

E The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

lf"' ;r"
Date: May6, 2005 5 f M’?'{ gin

S. THOMAS ANDERSON
UNITED STATES MAGlSTRATE JUDGE

AO 199A Order Setting Conditions of R¢lease '3'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

